     Case 16-24825-JAD Doc 21-4 Filed 06/09/17 Entered 06/09/17 13:18:18                              Desc
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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                   Bankruptcy No. 16-2482S-JAD
John Sorensen                                            Chapter 7
Cambria Sorensen
                           Debtor



                                   VERIFICATION OF DONNA FISCHER

        I, Donna Fischer, a duly licensed real estate agent with Coldwell Banker Real Estate Services
("Coldwell Banker"), hereby states that neither I nor any member of Coldwell Banker hold or represent any
interest adverse to the estate with respect to the matters for which we are to be employed and we are
disinterested persons within the meaning of 11 U.S.C. § 101(14).

       I am f^iliar with the Application to retain Coldwell Banker filed by the Trustee C'AppIication") and
the property described therein.

        Coldwell Banker has agreed to accept employment pursuant to the terms and conditions set forth in
the Application and the proposed commission structure. Based upon my experience and knowledge of the
real estate market, I believe that the commission structure proposed to be paid to Coldwell Banker does not
exceed customary commissions in the applicable geographical area and are reasonable for the type of
employment proposed.

      To the best of my information and belief, neither I nor the other members of Coldwell Banker have
any connection with the Debtor, its creditors, or any other party in interest or their respective attorneys or
accountants, the U. S. Trustee, or any person employed in the office ofthe U.S. Trustee,

         1 represent no interest adverse to the Debtor or its estate in the matters upon which I am to be
engaged.

         Verified under penalty of peijury that the foregoing is true and correct this 2 day of June, 2017.




                                                               ia Fischer
                                                           Coldwell Banker Real Estate Services
                                                           9600 Perry Highway
                                                           Pittsburgh, PA 15237
                                                           Phone: 412.366.1600
                                                           Email: Donnartischur@aol.com




                                                  EXHIBIT D
